     Case: 1:19-cr-00864 Document #: 823 Filed: 07/18/24 Page 1 of 6 PageID #:30240




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
UNITED STATES OF AMERICA,

                   Plaintiff,

         v.                                           Case No. 19 CR 864
                                                     Judge Thomas M. Durkin
RISHI SHAH, et al.,

                   Defendants,

and

JUMPSTART VENTURES, LLC,
JUMPSTART VENTURES II, LLC and
GRAVITAS HOLDINGS, LLC,

                    Third-Party Petitioners,

v.

THE UNITED STATES OF AMERICA,

                    Respondent.

                        MEMORANDUM IN SUPPORT OF
              THIRD-PARTY PETITION FOR RELIEF FROM FORFEITURE

         With only a couple exceptions, all of the property listed in the Court’s Amended

Preliminary Order of Forfeiture (Doc. #736) (the “Amended Order”) is, by the Government’s own

description, the property of Petitioners Jumpstart Ventures, LLC (“Jumpstart”), Jumpstart

Ventures II, LLC (“Jumpstart II”), and Gravitas Holdings, LLC (“Gravitas”) (together

“Petitioners”). But Petitioners are not defendants in the above-captioned action and have not, until

now, had any opportunity to contest the forfeiture of their property in this case. That simple fact

presents a substantial obstacle to the Government’s efforts to consummate the forfeiture of

Petitioners’ property in this case. With respect to the property that the Government seeks to forfeit
     Case: 1:19-cr-00864 Document #: 823 Filed: 07/18/24 Page 2 of 6 PageID #:30241




as “substitute” property of Mr. Shah’s, it bars the forfeiture altogether—because the property it

seeks to forfeit is not, as the Government claims, the “property of the defendant”; it is the property

of Petitioners. See infra § I. With respect, meanwhile, to the property the Government claims is

traceable to criminal proceeds, the Government cannot forfeit such property unless it first satisfies

due process by giving Petitioners an opportunity to challenge each of the factual and legal

determinations underlying the Government’s forfeiture theory—including the claim that such

assets are traceable to criminal activity. See infra § II. Thus, unless and until the Government

establishes, with adequate procedural safeguards to protect the rights of the Petitioners, both that

a crime has been committed and that the property in question is traceable to the proceeds of that

crime, not even the property the Government claims is “directly forfeitable” can be taken from

Petitioners. Instead, this Court should amend the Amended Order to remove any and all property

of Petitioners’ and order the return of all such property to Petitioners forthwith.

         Although Petitioners set forth their principal arguments in opposition to the Amended

Order below, they hereby incorporate by reference as if fully set forth herein Mr. Shah’s arguments

in opposition to the preliminary order of forfeiture. See Mem. (Doc. #511).

                                            DISCUSSION

I.     The Government Has Failed to Establish That the Property at Issue Is the “Property
       of the Defendant”

         In addition to the elements of § 853(p)(1), the Government bears the burden of proof, by a

preponderance of the evidence, to establish, prior to the forfeiture of any substitute property, that

the property it seeks to forfeit is the “property of the defendant.” 21 U.S.C. § 853(p)(2); United

States v. Patel, 131 F.3d 1195, 1200 (7th Cir. 1997) (holding that it is the government’s burden to

establish the right to forfeit property by a preponderance of the evidence). The Government simply

cannot carry that burden here.




                                                 -2-
  Case: 1:19-cr-00864 Document #: 823 Filed: 07/18/24 Page 3 of 6 PageID #:30242




       The vast majority of assets listed in the Amended Order (Doc. #763) are assets held by

Petitioners, none of which are defendants in this matter. Although Mr. Shah holds a membership

interest in Petitioners, that does not make the property of Petitioners’ Mr. Shah’s property. That is

because, under black letter law, members of an LLC have no ownership interest in the assets held

by the LLC. See 805 Ill. Comp. Stat. 180/30-1 (“A member [of an LLC] is not a co-owner of, and

has no transferable interest in, property of a limited liability company.”); see Peabody-Waterside

Development, LLC v. Islands of Waterside, LLC, 995 N.E.2d 1021, 1024 (Ill. App. Ct. 2013)

(recognizing that “an LLC member owns only its membership interest in the LLC,” which is why

“a creditor of an LLC member cannot seize LLC property to satisfy that member’s debt”).

       The Government attempts to equate Mr. Shah’s ownership interest in the corporate entities

of Petitioners with owning the assets of those entities. But as the Court well knows, limited liability

companies are distinct legal entities separate from their members. Peabody-Waterside

Development, LLC., 995 N.E.2d at 1024; Flores v. Westmont Eng’g Co., 183 N.E.3d 188, 197 (Ill.

App. Ct. 2021) (holding that a limited liability company is a “legal entity distinct from its

members” and has its “own legal rights and obligations.”). None of the Petitioners is a defendant

in this case, nor have the Petitioners been accused of any criminal wrongdoing. The assets listed

in the Amended Order (Doc. #763) are assets owned and controlled by Petitioners, each of which

is a distinct legal entity from its members, including Mr. Shah.

       While the Government asks this Court to overlook the obvious distinction between an LLC

and its members for the purpose of collecting on its forfeiture money judgement, the plain language

of § 853(p)(2) does not permit such an approach. It is the Government’s burden to establish that

the assets it is attempting to forfeit are those of the defendant, not the property of an entity in




                                                 -3-
      Case: 1:19-cr-00864 Document #: 823 Filed: 07/18/24 Page 4 of 6 PageID #:30243




which the defendant happens to hold an interest. Under these facts, the Government simply cannot

satisfy the requirements of § 853(p)(2).

II.     This Court Cannot Constitutionally Order the Forfeiture the Property of Third Parties
        Such as Petitioners Without First Providing Them an Opportunity to Be Heard on Each
        and Every Issue Supporting Forfeiture of Their Property

          Criminal forfeiture is in personam, and, thus, forfeiture is limited to “only the criminal

defendant’s interest in the property.” United States v. Totaro, 345 F.3d 989, 993 (8th Cir. 2003),

(citing United States v. Ginsburg, 773 F.2d 798, 800-01 (7th Cir. 1985)). As a result, the

Government’s ability to forfeit property is explicitly limited to that “of the defendant.” 21 U.S.C.

§ 853(p)(2). It is therefore impermissible for the Court to order forfeiture of property that is not

the defendant’s (i.e. that of a third party) under both the Fifth Amendment’s guarantee of due

process and an aggrieved party’s rights under the Takings Clause. See Pacheco v. Serendensky,

393 F.3d 348, 355 (2d Cir. 2004) (citing Totaro, 345 F.3d at 999). Thus, this Court must “engage

in a factual analysis to determine the precise boundaries of the legal right, title or interest asserted

by [a] third party and save it from [improper] forfeiture.” Totaro, 345 F.3d at 997.

          Corporate entities, including LLCs, maintain their own legal rights and obligations separate

from those of their members. Spitz v. Proven Winners North America, LLC, 759 F.3d 724, 730

(7th Cir. 2014) (citing Peabody-Waterside Dev., LLC, v. Islands of Waterside, LLC, 995 N.E.2d

1021, 1024 (Ill. App. Ct. 2013)). And it is the district court’s role to determine exactly what

property belongs to the defendant and ensure that only the defendant’s property is forfeited.

Totaro, 345 F.3d at 997. Any forfeiture of property not belonging to the defendant would “punish

the third party, against whom no jury has returned a guilty verdict[.]” Id.

          In this case, as described above, the majority of the property the Government seeks to

forfeit belongs to the Petitioners, not Mr. Shah. The Petitioners are distinct legal persons, with

their own rights, property, and interests that are separate from that of any of their members,



                                                  -4-
  Case: 1:19-cr-00864 Document #: 823 Filed: 07/18/24 Page 5 of 6 PageID #:30244




including Mr. Shah. Petitioners are entitled to due process and the ability to defend against the

attempted forfeiture of their property. See United States v. Daugerdas, 892 F.3d 545, 557 (2d Cir.

2018) (“It is unconstitutional for a judgment to be binding on a litigant who was not a party or a

privy and therefore has never had an opportunity to be heard.”).

                                           CONCLUSION

       While the Government would like to treat Mr. Shah and Petitioners as one and the same,

Petitioners are distinct legal entities with separate rights and assets from Mr. Shah. Mr. Shah’s

partial ownership of an LLC does not collapse any distinction between himself and the identity of

the Petitioners as their own separate legal entities. If Congress had meant to permit the forfeiture

of the interests of such third parties without due process, it could have said so. Instead, it limited

the forfeiture of substitute property in a criminal case to the “property of the defendant.” The

Government’s attempt to disregard the plain language of § 853(p)(2) cannot be tolerated. It is the

Government’s sole burden to establish that the assets it is attempting to forfeit are those of Mr.

Shah, and it simply cannot carry that burden here.

       Since the Government cannot comply with the requirements of § 853(p)(2), Petitioners

respectfully request that the Court recognize the Petitioners’ rights to the assets listed in the

Amended Order (Doc. # 763) and deny the Government’s attempt to forfeit assets belonging to

Petitioners.




                                                 -5-
  Case: 1:19-cr-00864 Document #: 823 Filed: 07/18/24 Page 6 of 6 PageID #:30245




                                                Respectfully submitted,

                                                BRYAN CAVE LEIGHTON PAISNER LLP

                                                /s/ Richard E. Finneran
                                                RICHARD E. FINNERAN
                                                211 North Broadway, Suite 3600
                                                St. Louis, MO 63102
                                                Tel: (314) 259-2000
                                                Fax: (314) 259-2020
                                                richard.finneran@bryancave.com

                                                Attorney for Petitioners Jumpstart Ventures,
                                                LLC, Jumpstart Ventures II, LLC, and Gravitas
                                                Holdings, LLC




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served upon all counsel of record by operation of
the Court’s electronic filing system.

                                                     /s/ Richard E. Finneran
                                                     RICHARD E. FINNERAN




                                               -6-
